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 1                                                              THE HONORABLE JOHN H. CHUN

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 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

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 9    FEDERAL TRADE COMMISSION, et al.,

10                     Plaintiffs,                             CASE NO.: 2:23-cv-01495-JHC

11                v.                                           PLAINTIFFS’ NOTICE OF
                                                               FILING EXHIBITS B-E, G AND L
12    AMAZON.COM, INC., a corporation,

13                     Defendant.

14

15          Pursuant to the Court’s May 31, 2024 Order (Dkt. # 243) and June 4, 2024 Order (Dkt.

16 #248), Plaintiffs are filing with this notice public versions of Exhibits B-E, G, and L to the

17 Declaration of Emily K. Bolles in Support of Plaintiffs’ Motion to Compel Production of

18 Documents Related to Spoliation (Dkt. #201).

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     PLAINTIFFS’ NOTICE OF FILING                                      FEDERAL TRADE COMMISSION
     EXHIBITS B-E, G, AND L - 1                                            600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                                   Washington, DC 20580
                                                                                         (202) 326-2222
             Case 2:23-cv-01495-JHC Document 250 Filed 06/04/24 Page 2 of 5




 1 Dated: June 4, 2024                   Respectfully submitted,

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